                       UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION

                                   DOCKET NO. 3:05CR104-5

UNITED STATES OF AMERICA                         )
                                                 )              PRELIMINARY ORDER
               v.                                )                OF FORFEITURE
                                                 )
(5) KOJI SANCHEZ STEWART                         )

       In the bill of indictment in this case, the United States sought forfeiture of property of the

defendants pursuant to 21 U.S.C. §853(a) as property that was proceeds of and/or was used to

facilitate the crimes charged, together with any other substitute property, which would be subject

to forfeiture under §853(p).

       Defendant entered into a plea agreement; subsequently pled guilty to Count One in the

bill of indictment; and was adjudged guilty of the offense charged in that count. In the plea

agreement, defendant has agreed to forfeit specific property as described below.

       It is therefore ORDERED:

       1. Based upon defendant’s plea of guilty, the United States is authorized to seize the

following property belonging to defendant, and it is hereby forfeited to the United States for

disposition according to law, subject to the provisions of 21 U.S.C. §853(n):

               (a) one 1999 black GMC Yukon Denali, VIN 1GKEK13R3XR908954, registered
               in the name of Quinn Stewart;

               (b) the sum of $168,031, seized on or about April 7, 2005; and,

               (c) assorted jewelry owned by defendant and seized on April 15, 2005, consisting
               of two necklaces, a stainless steel diamond watch, a bracelet, and earrings, which
               have been valued collectively at $12,655.




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        2. Pursuant to 21 U.S.C. §853(n)(1), the government shall publish in a newspaper of

general circulation, notice of this order; notice of its intent to dispose of the property in such

manner as the Attorney General may direct; and notice that any person, other than the defendant,

having or claiming a legal interest in any of the above-listed forfeited property must file a

petition with the Court within thirty days of the final publication of notice or of receipt of actual

notice, whichever is earlier. This notice shall state that the petition shall be for a hearing to

adjudicate the validity of the petitioner’s alleged interest in the property, shall be signed by the

petitioner under penalty of perjury, and shall set forth the nature and extent of the petitioner’s

right, title or interest in each of the forfeited properties and any additional facts supporting the

petitioner’s claim and the relief sought. The United States may also, to the extent practicable,

provide direct written notice to any person known to have alleged an interest in property that is

the subject of this order of forfeiture, as a substitute for published notice as to those persons so

notified.

        3. Upon adjudication of all third-party interests, this Court will enter a final order and

judgment of forfeiture pursuant to 21 U.S.C. § 853(n).

                                                   Signed: October 20, 2006




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